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16
                        UNITED STATES DISTRICT OF CALIFORNIA
17
                          CENTRAL DISTRICT OF CALIFORNIA
18

19   SUSAN DORETY INDIVIDUALLY                   Case No. 2:20-cv-03507-RGK-SK
     AND ON BEHALF OF THE ESTATE OF
20
     MICHAEL DORETY                              FIRST AMENDED COMPLAINT
21       Plaintiff
22                                               DEMAND FOR JURY TRIAL
           v.
23
     PRINCESS CRUISE LINES LTD.,
24

25         Defendant.
26

27   ///
28   ///
                                             1
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 1                     PLAINTIFF’S FIRST AMENDED COMPLAINT
 2          COMES NOW, Plaintiff Susan Dorety Individually and on behalf of the Estate of
 3   Michael Dorety, and files her First Amended Complaint against Defendant, Princess
 4   Cruise Lines LTD (hereinafter, "Princess"), and would respectfully show the Court as
 5   follows:
 6     I.   PARTIES
 7          1.    Plaintiff Susan Dorety Individually and on behalf of the Estate of Michael
 8   Dorety is a resident of Tarrant County, Texas and was a passenger onboard the Grand
 9   Princess.
10          2.    Princess Cruise Lines Ltd. is incorporated in Bermuda, with its headquarters
11   in Santa Clarita, California. The action is being filed in this Court pursuant to the terms
12   and conditions of the Passenger Contract issued by Defendant, Princess Cruise Lines, Ltd.
13   Princess Cruise Lines Ltd. may be served via its registered agent, CT Corporation System,
14   818 West Seventh Street, Suite 930, Los Angeles, California 90017.
15    II.   JURISDICTION AND VENUE
16          3.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 for the reason
17   that there is complete diversity of citizenship between Plaintiff and Princess, and Plaintiff
18   seeks damages in excess of $1,000,000.00 (One Million Dollars) exclusive of interest,
19   costs, and attorney’s fees, which greatly exceeds the minimum amount in controversy
20   required by § 1332.
21          4.    The Court has general personal jurisdiction over Princess as Princess’
22   principal place of business is in Los Angeles County, California as such Princess is “at
23   home” in California for purposes of any exercise of personal jurisdiction. In addition,
24   Princess conducts substantial business within the state of California, including operating
25   cruises from ports in San Francisco, San Diego, and Los Angeles. Princess markets cruise
26   vacations to California residents and employs thousands of California residents to work at
27   its California headquarters. It was foreseeable at all times that Princess could be hauled
28   into court in the State of California for conduct that caused injuries; in fact, Princess’
                                                   2
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 1   Passenger Contract requires claimants like Plaintiff in this action, to bring suit to vindicate
 2   personal injury claims in the United States District Court for the Central District of
 3   California. At all times hereto, Princess owned and operated the cruise ship the Grand
 4   Princess.
 5          5.    Susan Dorety and Michael Dorety were passengers aboard the Grand
 6   Princess which departed out of San Francisco on February 21, 2020 and was anchored off
 7   the coast of San Francisco from March 4-9, 2020, as a result of an outbreak of COVID-
 8   19. The exercise of personal jurisdiction over Princess by this Court comports with due
 9   process and is consistent with traditional notions of fair play and substantial justice.
10   III.   FACTUAL BACKGROUND
11          6.    In the months preceding the filing of this Complaint, there was a worldwide
12   outbreak of a new strain of the Coronavirus. This new strain is commonly known as
13   COVID-19. The virus began in China in December 2019, and quickly spread throughout
14   Asia and Europe. Most recently, it spread throughout North America. The virus causes
15   fatigue, fever, loss of appetite, loss of smell, loss of taste, and a dry cough. Coronavirus
16   can be fatal, especially in people over sixty years of age. As of the date of this filing, here
17   are over 1,900,000 cases worldwide and over 110,000 deaths as result of COVID-19. The
18   fatalities are largely amongst the elderly population and others with underlying medical
19   complications.
20          7.    COVID-19 gained increased public attention when the Diamond Princess
21   cruise ship (also owned and operated by Defendant) suffered an outbreak of the disease in
22   early February 2020 in Yokohama, Japan. The outbreak began with ten cases and rapidly
23   multiplied to 700 cases, as a result of the flawed two-week quarantine on the ship. The
24   Center for Disease Control issued a statement on February 18, 2020, that said “the rate of
25   new reports of positives new on board [the Diamond Princess], especially among those
26   without symptoms, highlights the high burden of infection on the ship and potential for
27   ongoing risk.” Seven of Defendant’s passengers died as a result of COVID-19 on the
28   Diamond Princess cruise ship.
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 1         8.     When the Princess’ Grand Princess cruise ship left San Francisco on
 2   February 21, 2020, it was carrying 2,421 passengers and 1,113 crew members. It would
 3   only stand to reason, having experienced such a traumatic outbreak on board one of its
 4   vessels less than a month prior to the February 21, 2020 voyage that Princess would have
 5   learned to take all necessary precautions to keep its passengers, crew, and the general
 6   public safe. Unfortunately, Princess did nothing to ensure the safety of its passengers,
 7   including Susan Dorety and Michael Dorety.
 8      A. Susan and Michael Dorety
 9         9.     Susan and Michael Dorety Grew up in Irving, Texas. Susan met Michael
10   when she was working at a bank and he was a firefighter. They fell in love, married, and
11   raised 2 children. Michael retired after 39 years as a firefighter. For their 40th wedding
12   anniversary, they decided to take the February 21, 2020 Princess’ Grand Princess cruise
13   out of San Francisco, California.
14         10.    As Susan and Michael Dorety boarded the Grand Princess cruise ship, they
15   did not know that Princess had knowledge that at least two of its passengers from the prior
16   voyage who disembarked the Grand Princess on February 21, 2020 had symptoms of
17   coronavirus. Susan and Michael Dorety were also unaware that there were 62 passengers
18   on board the February 21, 2020 cruise who remained on board after the conclusion of the
19   prior voyage. Those 62 carry-over passengers were exposed to the passengers that were
20   infected with COVID-19.
21         11.    After several days on the cruise, Princess removed the buffets, removed the
22   salt and pepper shakers, and required its employees to wear gloves. Princess continued to
23   hold shows and community events. Eventually Princess cancelled the shows but continued
24   with community events such as bingo. Finally, after almost two weeks, Princess
25   quarantined the guests to their rooms.
26         12.    After the Grand Princess cruise ship docked in Oakland, Michael Dorety
27   developed symptoms of COVID-19. Susan Dorety called the emergency number of the
28   Grand Princess cruise ship, as she was told to do if anyone developed symptoms of
                                                  4
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 1    Coronavirus. The Princess representative told Susan Dorety they would make a report and
 2    get back to her. They never did. Susan Dorety called Princess’ emergency number three
 3    times that day and her husband received no medical attention.
 4          13.    The next day, Michael Dorety could not get out of bed. Susan Dorety kept
 5    calling Princess’ emergency number and received no help. At one point when Michael
 6    Dorety was shivering under several blankets and sweating profusely, Princess asked how
 7    Susan Dorety knew her husband actually had a fever.
 8          14.    Eventually, Susan Dorety convinced Princess to send the doctor. He showed
 9    up, confirmed that Michael Dorety had a fever, gave Susan Dorety some Tamiflu and
10    Tylenol for her husband, and left. At this point, Michael Dorety was nonresponsive.
11          15.    As Michael Dorety’s condition worsened, Susan Dorety became more and
12    more upset. Eventually, she convinced Princess to let them off the ship so they could see
13    the medical personnel the CDC had on the dock. When she finally got Michael Dorety off
14    the ship, almost three days after his symptoms developed, the CDC looked at him alarmed
15    and asked why she did not bring him sooner. She explained that she spent the last two
16    days trying to get Princess to let him off the ship.
17          16.    Michael Dorety was immediately taken to a hospital where he spent days
18    suffering in agony. Michael Dorety tested positive for COVID-19 and struggled to stay
19    alive. When Michael Dorety died, he was all alone. The doctor called Susan Dorety to tell
20    her that her husband was dying. Susan Dorety and her children listened as the doctor
21    counted down Michael Dorety’s heartbeats until he was gone. Michael Dorety died alone.
22    IV.   CLAIMS FOR RELIEF
23                                             Negligence
24          17.    Plaintiff re-alleges all allegations in paragraphs 7 through 16 above as if
25    alleged fully herein.
26          18.    Princess owed Susan and Michael Dorety, who were paying passengers who
27    boarded the Grand Princess on February 21, 2020, the duty to ensure that they would not
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 1    be exposed to unreasonable risk of harm that Princess knew or should have known about
 2    while sailing on its vessel.
 3          19.      Princess breached that duty. It had knowledge that at least two of its
 4    passengers from the prior voyage who disembarked the Grand Princess early on February
 5    21, 2020 had symptoms of Coronavirus. Despite that, Princess made the conscious
 6    decision to continue sailing the next voyage of the Grand Princess, which began later on
 7    February 21, 2020 with another 3,534 passengers and crew on an infected ship.
 8          20.      Princess was aware of at least two passengers who disembarked its ship on
 9    February 21, 2020 in San Francisco, had symptoms of the Coronavirus. It went as far as
10    to send emails on Wednesday, February 25, 2020 to passengers who disembarked the
11    Grand Princess on February 21, 2020 notifying them of the potential of exposure to the
12    coronavirus while onboard their cruise.
13          21.      To make matters even worse, there were 62 passengers on board the cruise,
14    who remained on board after the conclusion of the prior voyage. Those 62 carry-over
15    passengers were exposed to the passengers that were confirmed to be infected; some of
16    the infected passengers to whom the carry-over passengers were exposed later died from
17    coronavirus.
18          22.      In continuing to sail with another 3,534 passengers and crew (including
19    Susan and Michael Dorety), on the cruise that began on February 21, 2020, knowing that
20    some of those passengers and crew had already been exposed to COVID-19, Princess
21    exposed Susan and Michael Dorety to actual risk of immediate physical injury.
22          23.      Princess is further negligent in failing to have proper screening protocols for
23    COVID-19 before boarding the passengers on the voyage. Despite the knowledge and
24    experience it had with the outbreak of the disease on the Diamond Princess just a mere
25    three weeks prior to the February 21, 2020 cruise, Princess did not have proper screening
26    protocol in place to minimize the risk of exposure of the disease to its passengers and crew.
27          24.      Prior to boarding the February 21, 2020 sailing on the Grand Princess,
28    passengers were simply asked to fill out a piece of paper confirming they were not sick.
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 1    No passenger was questioned or examined in any capacity. Incredibly, not one of those 62
 2    passengers or crew members who were mixing and mingling with the infected prior
 3    passengers were ever examined during the instant voyage until being tested for the virus
 4    on Thursday, March 5, 2020, two weeks after the ship sailed.
 5          25.    Princess is further negligent in failing to adequately warn Susan and Michael
 6    Dorety about the potential exposure to COVID-19 prior to boarding the ship on February
 7    21, 2020, and again during the sailing of said cruise. Defendant had actual knowledge of
 8    at least two passengers who sailed on its ship the week prior, disembarked with symptoms
 9    of coronavirus, and one confirmed death as a result. Princess also knew that there were 62
10    passengers and crew who were onboard that same cruise, who later boarded the Grand
11    Princess with Susan and Michael Dorety, and failed to inform Susan and Michael Dorety
12    at any time prior to boarding or while they were already onboard, that there was an actual
13    risk of exposure to COVID-19.
14          26.    Princess failed to inform Susan and Michael Dorety that a crew member
15    aboard their cruise actually disembarked in Hawaii as a result of COVID-19. If Susan and
16    Michael Dorety had knowledge of this actual risk of exposure prior to boarding, they
17    would have never boarded the ship. If they were informed of the risk on February 25, 2020,
18    when the former passengers were notified by email, Susan and Michael Dorety would
19    have disembarked at the first port of call in Honolulu on February 26, 2020. Due
20    to Princess’ outright negligence in failing to warn Susan and Michael Dorety of the actual
21    risk of exposure to COVID-19 aboard its infected ship, Susan and Michael Dorety were
22    quarantined in their cabin along with the rest of the passengers and crew, off the coast of
23    San Francisco, anxiously awaiting their fate, for over six days.
24          27.    Princess is further negligent in failing to timely remove Michael Dorety from
25    the ship after repeated pleas from Susan Dorety and after Michael Dorety exhibited signs
26    and symptoms of COVID-19.
27

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 1          28.    As a result of Princess’s lackadaisical approach to the safety of Susan and
 2    Michael Dorety as well as the other passengers, and crew aboard the Grand Princess,
 3    Michael Dorety died.
 4                                        Gross Negligence
 5          29.    Plaintiff re-alleges all allegations set out in paragraphs 7 through 28 above as
 6    if alleged fully herein.
 7          30.    Princess’ conduct in deciding to continue to sail the Grand Princess knowing
 8    that the ship was infected from two previous passengers who came down with symptoms
 9    of COVID-19, and had 62 passengers on board who were previously exposed to those
10    two infected individuals, along with the prior crew, shows a lack of any care on the part
11    of Princess, amounting to gross negligence. Princess knew how dangerous it was to expose
12    Susan and Michael Dorety and the rest of its passengers to COVID-19 in light of its
13    experience with the Diamond Princess a short three weeks prior, and yet it departed from
14    what a reasonably careful cruise line would do under the circumstances in continuing to
15    sail with Susan and Michael Dorety.
16          31.    Princess’ conduct in failing to warn Susan and Michael Dorety of their actual
17    risk of harm in being exposed to COVID-19, either prior to boarding or while they were
18    already on board, in light of the prior passenger who came down with symptoms and later
19    died, along with others who came down with symptoms from that prior voyage, and the
20    crew member who disembarked during this voyage due to COVID-19, amounts to an
21    extreme departure of a what a reasonably careful cruise line would do, in light of that fact
22    that Susan and Michael Dorety are in the age group most susceptible to death from
23    COVID-19.
24          32.    Princess chose to place profits over the safety of its passengers, crew, and the
25    general public in continuing to operate business as usual, despite their knowledge of the
26    actual risk of injury to Susan and Michael Dorety, who are in the age group most
27    susceptible to death from COVID-19
28    ///
                                                    8
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 1    V.    INJURIES AND DAMAGES
 2          33.    Susan Dorety is a wrongful death beneficiary and seeks all available damages
 3    recoverable by law resulting from the death of Michael Dorety. Susan Dorety sustained,
 4    and continues to sustain, damages, among other things, for loss of society, companionship,
 5    pecuniary loss, loss of inheritance, loss of consortium, and mental anguish as a result of
 6    the death of Michael Dorety.
 7          34.    Susan Dorety seeks damages for Michael Dorety’s conscious pain and
 8    suffering and pain and mental anguish from the time of the occurrence to his death as a
 9    result of the facts alleged herein.
10          35.    Plaintiff is seeking all damages allowed by law in an amount greater than one
11    million dollars ($1,000,000).
12    VI.   JURY DEMAND
13          36.    Plaintiff formally make this demand and application for a jury trial in this
14    lawsuit.
15    VII. PRAYER
16          WHEREFORE, PREMISES CONSIDERED, Plaintiff prays Princess be cited to
17    appear and answer herein, and that upon final trial, Plaintiff recover of Princess both actual
18    and exemplary damages, as set forth above, and costs of court, pre-judgment and post-
19    judgment interest, and expenses, and such other and further relief to which Plaintiff may
20    show herself justly entitled.
21    Dated: June 15, 2020                           SINGLETON LAW FIRM, APC
22                                                   By: /s/Gerald Singleton
                                                         Gerald Singleton
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                                                     Attorneys for Plaintiffs
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